Case 1:18-cv-02192-HG-PK   Document 84-23   Filed 03/04/22   Page 1 of 5 PageID #:
                                    1510




                      Exhibit 21
         Case 1:18-cv-02192-HG-PK                                            Document 84-23               Filed 03/04/22              Page 2 of 5 PageID #:
                                                                                      1511
  Home
  Hoe        Mission Team
             Mkssion Team         Contact...I
                                  Ceuta         Sitemap
                                                Sitemap                                                                                                     10 August
                                                                                                                                                            10 August 2021
                                                                                                                                                                      2021




   ABOUT PALESTINE
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                                                                                              UN RESOLUTIONS          CONFERENCES
                                                                                                                      CONFERENCES    PALESTINE
                                                                                                                                     PALESTINE PROGRAMMES
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               Home // About Palestine / Natio
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Palestine Liberation
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                                  The Palestine Liberation Organization (PLO) was
                                  established in 1964 and has been the embodiment                    STAY CONNECTED
                                  of the Palestinian national movement. It is a broad
                                  national      front,     or    an     umbrella   organization,
                                  comprised        of    numerous        organizations   of   the
                                  resistance movement, political parties, popular
                                                                                                            Follow @Palestine_UN
                                  organizations, and independent personalities and
figures from all sectors of life. The Arab Summit in 1974 recognized the PLO
as the “sole and legitimate representative of the Palestinian people” and since
then the PLO has represented Palestine at the United Nations, the Movement                           UN Membership Submission
of Non-Aligned Countries (NAM), the Organization of the Islamic Conference
(OIC), and in many other fora. In addition to its broad national and political
goals, the PLO has dealt with numerous tasks with regard to the life of the
Palestinian people in their main communities and throughout the world
through the establishment of several institutions in such realms as health,
education and social services. As such, the PLO is more than a national
liberation movement striving to achieve the national goals of the Palestinian
people, including the independence of the State of Palestine with East
Jerusalem as its capital.

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Structure of the Palestine Liberation Organization
                                                                                                     Children Committee on Palestinian Rights
Palestine National Council                                                                           East Jerusalem Gaza Gaza
                                                                                                     Strip General Assembly Geneva
The PNC, which is the highest decision-making body of the PLO, is
considered to be the parliament of all Palestinians inside and outside of the
                                                                                                     Conventions ICC ICJ       Identical
Occupied Palestinian Territory, including Jerusalem. The PNC normally sets                           Letters International Day of
PLO policies, elects the Executive Committee and makes the necessary                                 Solidarity with the Palestinian People
changes in its own membership, as well as changes to the Palestine National                          international law Israeli
Charter (a special meeting is required) and to the Fundamental Law of the                            Occupation Israeli Practices Israeli
organization. The PNC also elects a speaker, two deputies and a secretary,                           Settlement israeli settlements
who make up the Bureau of the Council. The Council has its own standing                              Jerusalem Letter occupation
committees for various aspects of its work, such as its legal and political                          Occupied East Jerusalem Open Debate
committees. The composition of the PNC represents all sectors of the
Palestinian community worldwide and includes numerous organizations of the
                                                                                                     Palestine Palestine at the UN Palestine
                                                                                                     Mission to the UN Peace President
resistance movement, political parties, popular organizations (each of the
                                                                                                     Mahmoud Abbas Press Release
above is represented by specific quotas) and independent personalities and
figures from all sectors of life, including intellectuals, religious leaders and                     Secretary-General security
businessmen.                                                                                         council settlements settler terror
                                                                                                     statement statements State
Central Council
                                                                                                     of Palestine Status of Palestine
       Case 1:18-cv-02192-HG-PK                      Document 84-23 Filed 03/04/22 Page 3 of 5 PageID #:
The Central Council, which was established by the PNC in 1973, is the 1512 UNGA united nations United Nations
second leading body of the PLO. The Council functions as an intermediary   General Assembly UNRWA UNSC UN
body between the PNC and the Executive Committee. At present, the
                                                                           Security Council War Crimes
membership stands at 124, including 15 representatives of the PLC.
                                                                                WP Cumulus Flash tag cloud by Roy Tanck
Executive Committee                                                             requires Flash Player 9 or better.

The Executive Committee is the daily leading body of the PLO and it
represents the organization at the international level. The Committee is        CALENDAR OF
                                                                                CALENDAR    POSTS
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elected by the members of PNC and it is responsible to the PNC. Its main
                                                                                                                August 2021
function is to execute the policies and decisions set out by the PNC and the
Central Council. The Committee is also responsible for adopting a budget and      M      T      W    T     F         S   S
for overseeing the functioning of the departments of the PLO, the                                                        1
responsibilities of which are distributed among its members. Decisions of the
                                                                                  2      3      4    5      6        7   8
Committee are taken by a simple majority. Its membership stands at 18,
including its Chairman.                                                           9     10      11   12    13    14      15

                                                                                  16    17      18   19    20    21      22
Members of the Executive Committee:
                                                                                  23    24      25   26    27    28      29
     Chairman:                                                                    30    31
          H.E. Dr. Mahmoud Abbas (Abu Mazen)
                                                                                       « Jul

     Secretary-General:
       . Mr. Yasser Abed Rabbo
                                                                                ARCHIVES
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     Members:
                                                                                ARCHIVES

  . Dr. Zakaria Al-Agha                                                          Select Month
                                                                                 Select Month
     Mr.Mohammad Zuhdi Al-Nashashibi
     Mr.Hanna ‘Amireh
     Dr. Hanan Ashrawi
     Dr. Sa’eb Erekat
     Mr. Ali Is’haq
     Mr. Mahmoud Ismail
     Mr. Taysir Khaled
     Dr. Riad Khodari
     Mr. Ahmad Majdalani
     Mr. Abdel Rahim Malouh
     Mr. Saleh Ra’fat
     Mr. Farouk Qaddoumi
     Mr. Ahmad Qurei’
     Mr. Ghassan Shaka’a

     Observers:
          Mr. Jamil Shahada
          Mr. Wasel Abu Yousef

Palestine National Fund

The Fund is managed by a board of directors and by a chairman who is
elected by the PNC and who automatically serves on the Executive
Committee. The other members of the board are appointed by the Executive
Committee, with a maximum of 11 members. Revenues for the fund come
from two sources – a fixed tax on the wages earned by all Palestinians living
in Arab countries and collected by those respective governments and from
financial contributions by Arab governments and peoples, an amount that in
the past was substantial.

Palestine Liberation Army

The Palestine Liberation Army (PLA) was established as the official military
branch of the PLO in 1964, in accordance with the resolutions of the
1st Palestinian Conference (the 1st PNC). At that time, three brigades were
established: Ein Jalut in Gaza and Egypt, Kadissiyah in Iraq, and Hiteen in
Syria. In practice, those brigades were dominated by the general command of
the armed forces of their respective host countries. Over time, however,
          Case 1:18-cv-02192-HG-PK                Document 84-23                Filed 03/04/22          Page 4 of 5 PageID #:
                                                                    1513
changes were made to the PLA’s structure, including, for instance, the
establishment in 1968 of commando units in Gaza to fight against the Israeli
occupation, known as Kuwat al-Tahrir Al-Sha’biya (Popular Liberation Troops).
With the establishment of the Palestine National Authority (PNA) in the mid
1990’s, important parts of those brigades were absorbed into the PNA security
forces.

Departments

The Organization has established departments that are responsible for
several important spheres of work, each headed by a member of the
Executive Committee. The departments include, among others, the Political
Department, the Department of Returnees, the Department of Culture and
Information, and the Department of Popular Organizations.




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    9 July 2021 – Israeli Colonization and Human                                                   Palestine Liberation Organization
    Rights Abuses Against the Palestinian People 09                                                Diplomatic Relations
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    16 June 2021 – Israeli Colonization and Human
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    Rights Violations in Palestine 16 June 2021
                                                                                                   Resolutions & Reports on Status
    9 June 2021 – Ongoing Israeli Attacks Against the
    Palestinian People 09 June 2021                                                        •   Mission Documents
    4 June 2021 – Israeli Crimes Persist in the OPT                                            •   Statements
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    Statement of H.E. Minister Riyad Mansour,                                                  •   Press Releases
    Permanent Observer of the State of Palestine to                                            •   Mission Reports on GA
    the United Nations, before the Security Council, 27                                        •   Fact Sheets
    May 2021 27 May 2021
                                                                                               UN Resolutions
    21 May 2021 – Letter on Article 51 – Self-Defense
                                                                                                   General Assembly
    21 May 2021
                                                                                                   10th Emergency Special Session
                                                                                                   Security Council
                                                                                                   The Wall – Landmark Documents

                                                                                               Conferences
                                                                                               Palestine Programmes
                                                                                           •   Special Meetings and Events
                                                                                               •   Arria-Formula Meetings of the Security Council
                                                                                                   •   May 2016: Protection of Civilians
                                                                                                   •   Oct 2016: Illegal Israeli Settlements:
                                                                                                       Obstacles to Peace and the Two-State
                                                                                                       Solution

                                                                                               •   Palestine Flag at the UN
                                                                                                   •   Raising of Palestine’s Flag at the United
                                                                                                       Nations

                                                                                               •   International Day of Solidarity with the
                                                                                                   Palestinian People Observances
                                                                                                   •   29 November 2016

                                                                                                   2017: International Year to End the Israeli
                                                                                                   Occupation
                                                                                                   International Year of Solidarity with the
                                                                                                   Palestinian People 2014
                                                                                                       2014 for Palestine Events
                                                                                                       2014 for Palestine Statements
       Case 1:18-cv-02192-HG-PK   Document 84-23   Filed 03/04/22               Page 5 of 5 PageID #:
                                           1514                        International Instruments
                                                                           Treaties & Conventions

                                                                       Home
                                                                       Mission Team
                                                                           Welcome Message
                                                                           Ambassador
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                                                                       Sitemap


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